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~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1

                                                                          SEP 19
                                       UNITED STATES DISTRICT COURJAMEs W.MCC'~RMA
                                                                                                       By:
                                                         Eastern District of Arkansas                      -~~~~
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                              v.                                        (For Revocation of Probation or Supervised Release)
              HEATHER SANDOVAL

                                                                        Case No. 4:05cr00320-06 JMM
                                                                        USM No. 23986-009
                                                                        Chris Tarver
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           Std 2 & 5 and Special           of the term of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                            Violation Ended
Standard 2                         Failure to submit truthful monthly reports                                04/12/2011

Standard 5                         Failure to work regularly at a lawful occupation                          03/12/2011

Special                            Failure to report for drug testing & to complete outpatient               03/31/2011
                                   outpatient substance abuse program.
       The defendant is sentenced as provided in pages 2 through            4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
econOlll1C CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6496                     09/19/2011
                                                                                           Date of Imposition of Judgment
Defendant' s Year of Birth:           1973
                                                                         ~VVtY\/~
City and State of Defendant's Residence:
Conway, Arkansas
                                                                        James M. Moody                                US District JUdge
                                                                                               Name and Title of Judge

                                                                        09/19/2011
                                                                                                        Date
                     Case 4:05-cr-00320-JM                     Document 357       Filed 09/19/11       Page 2 of 4
  AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment
                                                                                                Judgment - Page   _=.2_ of        4
  DEFENDANT: HEATHER SANDOVAL
  CASE NUMBER: 4:05cr00320-06 JMM


                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
NINE (9) MONTHS




       rI The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in whatever substance abuse treatment available and mental health counseling.
The defendant shall serve her term of imprisionment in Greenville, IL to be near her mother.


       rI The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                   to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                            By
                                                                                         DEPUTY UNITED STATES MARSHAL
                 Case 4:05-cr-00320-JM                        Document 357                           Filed 09/19/11              Page 3 of 4
AD 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 5 - Criminal Monetary Penalties

                                                                                                                    Judgment - Page      _..;:;3__   of    4
DEFENDANT: HEATHER SANDOVAL
CASE NUMBER: 4:05cr00320-06 JMM
                                                      CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                   Assessment                                                                                                   Restitution
TOTALS         $ 25.00                                                                                                     $


DO The determination of restitution is deferred until -----. An Amended Judgment in a Criminal Case (AD 245C) will be
     entered after such determination.

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                  Total Loss*                                         Restitution Ordered                    Priority or Percentage




TOTALS                                    $:......-                ---.,;;0..;.;.0;....;;0_    $                ---.,;O;.;..O:;..;O~




D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgIl!ent, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the                 D fine                      D restitution.
     D the interest requirement for the                D   fine        D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AD 2450     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments

                                                                                                    Judgment - Page     4      of       4
DEFENDANT: HEATHER SANDOVAL
CASE NUMBER: 4:05cr00320-06 JMM

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    r;t Lump sum payment of $ _2_5_._0_0                       _ due immediately, balance due

           D not later than                                           , or
           D in accordance with D C,                 D     D,      D E,or    D F below); or
B    D    Payment to begin immediately (may be combined with                 DC,      D D,or      D F below); or
C    D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. All criminal monetary penaltIes, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
